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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   CIVIL NO. 9:22-cv-80235-RAR

  NATHAN J. ROWAN, individually and on
  behalf of others similarly situated,

                     Plaintiff,

  v.

  UNITED ENROLLMENT SERVICES
  LLC, ET AL.

                     Defendants.


         JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
             AS TO DEFENDANT UNITED ENROLLMENT SERVICES, LLC

         COMES NOW, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Nathan Rowan

  (“Plaintiff”), Defendant United Enrollment Services, LLC (“UES”), and Defendant Adroit

  Health Group, LLC (“Adroit”), hereby stipulate that Plaintiff’s individual claims in this action

  against UES shall be dismissed with prejudice, and without prejudice as to any claims of the

  putative class members against UES, and with Plaintiff and UES bearing their own respective

  fees and costs.

         This stipulation does not relate to Plaintiff’s individual or putative class claims against

  Defendant Adroit Health Group, LLC, which is now subject to the Joint Stipulation of Voluntary

  Dismissal (ECF No. 29) and the Court’s Order Administratively Closing Case (ECF No. 30).



  SO STIPULATED:

  /s/Carl Taylor Smith__________                   /s/ Avi R. Kaufman_____________
  Carl Taylor Smith (Florida Bar No. 1003543)      Avi R. Kaufman (FL Bar no. 84382)
  Joseph P. Bowser (admitted pro hac vice)         kaufman@kaufmanpa.com
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                                                    putative classes
  Counsel for United Enrollment Services, LLC


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  LLC




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                                  CERTIFICATE OF SERVICE

         I hereby certify that, on August 2, 2022, I electronically filed the foregoing Stipulation of

  Dismissal with prejudice as to Defendant United Enrollment Services, LLC using the CM/ECF

  system, which will automatically send e-mail notification of such filing to counsel of record as

  follows:

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                                                       /s/ Avi R. Kaufman_____________
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